Case 23-05009 Doci-6 Filed 05/24/23 Entered 05/24/23 11:28:27. Pagelof3
State of Connecticut

ss: New Canaan May 7, 2018
County of Fairfield

Then and there, by virtue hereof, | made service of the within original Notice about the residential
foreclosure process, You are Being Sued, JD-CV-103, Foreclosure Mediation Notice to Homeowner or
Religious Organization JD-CV-127, Foreclosure Mediation Certificate JD-CV-108, Appearance JD-CL-12,
Foreclosure Mediation Notice of Community-Based Resources, JD-CV-126, Mediation Information Form,
JD-CV-135, writ, Summons and Complaint upon the within named defendant, Jayardman Krishna a/k/a
Jayaraman Krishna a/k/a Kris Jayaraman, by leaving a true and attested copy with and in the hands of
Jayardman Krishna a/k/a Jayaraman Krishna a/k/a Kris Jayaraman, at 1769 Oenoke Ridge, New Canaan,
CT.

Later on May 7, 2018, | made further service of the within original Notice about the residential
foreclosure process, You are Being Sued, JD-CV-103, Foreclosure Mediation Notice to Homeowner or
Religious Organization JD-CV-127, Foreclosure Mediation Certificate JD-CV-108, Appearance JD-CL-12,
Foreclosure Mediation Notice of Community-Based Resources, JD-CV-126, Mediation Information Form,
JD-CV-135, writ, Summons and Complaint upon the within named defendant, Suneeta P Krishna a/k/a
Suneeta Prasad a/k/a Suneeta Prasad Krishna a/k/a Suneeta Krishna, by leaving a true and attested copy
at the usual place of abode of defendant Suneeta P Krishna a/k/a Suneeta Prasad.a/k/a Suneeta Prasad
Krishna a/k/a Suneeta Krishna, at 1769 Oenoke Rdg, New Canaan, CT.

Later on May 7, 2018, | made further service of the within original Notice about the residential
foreclosure process, You are Being Sued, JD-CV-103, Foreclosure Mediation Notice to Homeowner or
Religious Organization JD-CV-127, Foreclosure Mediation Certificate JD-CV-108, Appearance JD-CL-12,
Foreclosure Mediation Notice of Community-Based Resources, JD-CV-126, Mediation Information Form,
JD-CV-135, writ, Summons and Complaint upon the within named defendant, State of Connecticut
Department of Revenue Services, by leaving a true and attested copy with and in the hands of Michelle
Cloutier, Secretary, designated to accept service on behalf of Attorney General George Jepson, at 55 Elm
ST., Hartford CT.

Later on May 7, 2018, | made further service of the within original Notice about the residential
foreclosure process, You are Being Sued, JD-CV-103, Foreclosure Mediation Notice to Homeowner or
Religious Organization JD-Cv-127, Foreclosure Mediation Certificate JD-CV-108, Appearance JD-CL-12,
Foreclosure Mediation Notice of Community-Based Resources, JD-CV-126, Mediation Information Form,
JD-CV-135, writ, Summons and Complaint upon the within named defendant, Wells Fargo Bank, National
Association f/k/a/ First Union National Bank, by leaving a true and attested copy with and in the hands
of Virginia Holloway, Supervisor, Corporation Service Company, agent for service for Wells Fargo Bank,
National Association f/k/a/ First Union National Bank, at 50 Weston St., Hartford, CT.

Later on May 7, 2018, | made further service of the within original Notice about the residential
foreclosure process, You are Being Sued, JD-CV-103, Foreclosure Mediation Notice to Homeowner or
Religious Organization JD-CV-127, Foreclosure Mediation Certificate JD-CV-108, Appearance JD-CL-12,
Foreclosure Mediation Notice of Community-Based Resources, JD-CV-126, Mediation Information Form,
JD-CV-135, writ, Summons and Complaint upon the within named defendant, Portfolio Recovery
Associates, LLC, by leaving a true and attested copy with and in the hands of Virginia Holloway,
Supervisor, Corporation Service Company, agent for service for Portfolio Recovery Associates, LLC, at 50
Weston St., Hartford, CT.
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Later on the May 7, 2018, | made further service of the within original Notice about the residential
foreclosure process, You are Being Sued, JD-CV-103, Foreclosure Mediation Notice to Homeowner or
Religious Organization JD-CV-127, Foreclosure Mediation Certificate JD-CV-108, Appearance JD-CL-12,
Foreclosure Mediation Notice of Community-Based Resources, JD-CV-126, Mediation Information Form,
JD-CV-135, writ, Summons and Complaint upon the within named defendant, Bank of America NA f/k/a
Fleet National Bank, by depositing a letter, postage prepaid, return receipt requested, certified
(certification #7017 1450 0000 2214 1177) in which letter contained a true and attested copy of the
within original Notice about the residential foreclosure process, You are Being Sued, JD-CV-103,
Foreclosure Mediation Notice to Homeowner or Religious Organization JD-CV-127, Foreclosure
Mediation Certificate JD-CV-108, Appearance JD-CL-12, Foreclosure Mediation Notice of Community-
Based Resources, JD-CV-126, Mediation Information Form, JD-CV-135, writ, Summons and Complaint
addressed to Bank of America NA t/k/a Fleet National Bank, c/o Secretary, 100 N Tryon St., Charlotte, NC
28202-2135.

Later on the May 7, 2018, | made further service of the within original Notice about the residential
foreclosure process, You are Being Sued, JD-CV-103, Foreclosure Mediation Notice to Homeowner or
Religious Organization JD-CV-127, Foreclosure Mediation Certificate JD-CV-108, Appearance JD-CL-12,
Foreclosure Mediation Notice of Community-Based Resources, JD-CV-126, Mediation Information Form,
JD-CV-135, writ, Summons and Complaint upon the within named defendant, Porsche Leasing Ltd.,
d/b/a Bentley Financial Services, by depositing a letter, postage prepaid, return receipt requested,
certified (certification #7017 1450 0000 2214 1160) in which letter contained a true and attested copy of
the within original Notice about the residential foreclosure process, You are Being Sued, JD-CV-103,
Foreclosure Mediation Notice to Homeowner or Religious Organization JD-CV-127, Foreclosure
Mediation Certificate JD-CV-108, Appearance JD-CL-12, Foreclosure Mediation Notice of Community-
Based Resources, JD-CV-126, Mediation Information Form, JD-CV-135, writ, Summons and Complaint
addressed to , Porsche Leasing Ltd., d/b/a Bentley Financial Services, c/o Secretary, 1 Porsche Dr,
Atlanta, GA 30354-1654.

The within and foregoing is the original JD-CV-103 You are Being Sued, Foreclosure Mediation Notice to
Homeowner or Religious Organization, JD-CV-127, Foreclosure Mediation Certificate JD-CV-108,
Appearance JD-CL-12, Foreclosure Mediation Notice of Community-Based Resources, JD-CV-126,
Mediation Information Form, JD-CV-135, writ, Summons and Complaint with my doings hereon
endorsed.
Case 23-05009 Doci-6 Filed 05/24/23

Attest:

Sara M. Laden = et
State Marshal, Fairfield County

FEES

Service 240.00

Verification of

Pages: 147.00
Travel 88.57

Postage 16.50
Endorsement 3.20
TOTAL $495.27

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